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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 25-80262-CIV-CANNON

    CARY CANTNER, on behalf of himself and
    others similarly situated,

           Plaintiff,
    v.

    GAME OF SILKS, INC., DAN
    NISSANOFF, TROY LEVY, TROPICAL
    RACING, INC., RON LUNIEWSKI, AND
    DEREK CRIBBS,

          Defendants.
   ____________________________________/

         ORDER GRANTING MOTION TO APPEAR PRO HAC VICE, CONSENT TO
               DESIGNATION AND REQUEST TO ELECTRONICALLY
                  RECEIVE NOTICES OF ELECTRONIC FILING

           THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for
   Peter G. Siachos, Consent to Designation, and Request to Electronically Receive Notices of
   Electronic Filing (the “Motion”), pursuant to the Special Rules Governing the Admission and
   Practice of Attorneys in the United States District Court for the Southern District of Florida and
   Section 2B of the CM/ECF Administrative Procedures. This Court having considered the Motion
   and all other relevant factors, it is hereby
           ORDERED AND ADJUDGED that:
           The Motion is GRANTED. Clair E. Wischusen may appear and participate in this action
   on behalf of the Defendants Game of Silks, Inc., Troy Levy, Tropical Racing, Inc., Ron Luniewski,
   and Derek Cribbs. The Clerk shall provide electronic notification of all electronic filings to Clair
   E. Wischusen at cwischusen@grsm.com.
           DONE AND ORDERED in Chambers at ________________, Florida, this ____ day of
   April, 2025.
                                                                         Aileen M. Cannon
                                                                     United States District Judge
   Copies furnished to: All Counsel of Record
